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DEH/LIW: USAG201 8R00215

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *

*  crmanatno. 60419-0235]

v. *
* (Honest Services Wire Fraud, 18

CHERYL DIANE GLENN, * U.S.C. §§ 1343, 1346; Travel Act, 18

* U.S.C, § 1952; Forfeiture,

Defendant. * 18 U.S.C. § 981(a)(1)(C), 21 U.S.C.
* § 853, and 28 U.S.C. § 2461(c))
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INFORMATION
COUNT ONE

(Honest Services Wire Fraud)

The United States Attorney for the District of Maryland charges that at all times relevant
to this Information:

Introduction

1. The General Assembly was the State of Maryland’s legislative body. The
bicameral legislature was composed of the Senate and the House of Delegates.

2. The defendant, CHERYL DIANE GLENN (“GLENN”), was a Delegate in the
Maryland House of Delegates, representing District 45, which covered portions of Baltimore,
Maryland. GLENN was the Chair of the Banking, Consumer Protection, and Commercial Law
Subcommittee of the Economic Matters Committee: the Vice Chair of the Rules and Executive
Nominations Committee; the Chair of the Baltimore City Delegation; and a member of the
Women Legislators of Maryland Caucus and the Legislative Black Caucus of Maryland, among
other memberships. |

3. The State of Maryland and its citizens had an intangible right to the honest

services of its elected officials. As a Delegate of the General Assembly, GLENN owed the State
of Maryland and its citizens a fiduciary duty to, among other things, refrain from soliciting and

receiving bribes in exchange for taking, or agreeing to take, official actions.

Relevant Individuals and Entities

 

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5.

6.

Associate 1 was an associate of GLENN and a businessperson in Maryland.
Associate 2 was an associate of GLENN.

Company 1 was a marijuana dispensing company, licensed in a state other than

Maryland, which sought to obtain a license in Maryland to process and dispense medical

marijuana in Maryland.

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10.

11.

12.

Businessperson 1 was the Chief Executive Officer of Company 1.
Businessperson 2 was an agent of Company 1.

Businessperson 3 was a Maryland resident and a businessperson.
Senator 1 was a senator in the Maryland State Senate.

Senator 2 was a senator in the Maryland State Senate.

Delegate 1 was a delegate in the Maryland House of Delegates.

Marviland Medical Marijuana Legislation

13.

Since 2013, the General Assembly of Maryland has enacted legislation that

resulted in the award of licenses permitting companies to grow, process, and dispense medical

marijuana. GLENN was actively involved in sponsoring such legislation and in securing its

passage. For example, GLENN was a sponsor of House Bill 1101, passed by the state

legislature and signed into law by the Governor in 2013, which authorized access to medical

marijuana in the State of Maryland for qualifying individuals and established the Natalie M.

LaPrade Medical Cannabis Commission (“Commission”). GLENN was a sponsor of House Bill

881, passed by the state legislature and signed into law by the Governor in 2014, which set a
limit of fifteen licensed marijuana growers in Maryland. GLENN was a sponsor of House Bill
490, passed by the state legislature and signed into law by the Governor in 2015, which
established requirements for the Commission to license medical marijuana processors in the
State of Maryland.

14. In 2016, the Commission began the process of awarding fifteen medical
marijuana grower licenses and fifteen medical marijuana processor licenses in the State of
Maryland. |

15. House Bill 2, the “Natalie M. LaPrade Medical Cannabis Commission Reform
Act,” increased the number of medical marijuana grower licenses from fifteen to twenty-two and
established a new cap of twenty-eight processing licenses. House Bill 2 was pre-filed by
GLENN on September 25, 2017 and introduced on January 10, 2018. House Bill 2 initially
passed the House by a vote of 121-16, with GLENN voting in favor, on March 8, 2018. After
amendments from the Senate, House Bill 2 passed the House by a vote of 118-15 on April 7,
2018, with GLENN voting in favor. It was passed by the Senate on April 9, 2018 and approved
by the Govemor on May 15, 2018.

Maryland Opioid Maintenance Therapy Regulations

16. Maryland law governs opioid maintenance therapy programs involving the use of
pharmacological interventions to provide treatment, support, and recovery to opioid-addicted
patients. Pursuant to this law and regulations promulgated by the Maryland Department of
Health, any such program was required to have a medical director who was a physician with at
least 3 years of documented experience providing services to individuals who are addicted to

alcohol or other drugs.
17. House Bill 35, titled “Public Health —- Opioid Maintenance Therapy Programs —
Medical Director Requirement and Qualifications,” amended this requirement so that a medical
director of an opioid maintenance therapy program needed to be a physician with only 2 years of
documented experience providing services to individuals who are addicted to alcohol or other
drugs. House Bill 35 was pre-filed by GLENN on October 18, 2018, and introduced on January
9, 2019.

Maryland Alcohol and Liquor License Legislation

18. | Under Maryland law, alcohol licenses are divided into different classes. Class A
licenses authorize their holders to sell, for consumption off the premises, beer, wine, and liquor
six days per week. Class B licenses authorize their holders to sell beer and wine seven days per
week and liquor every day except Sunday; certain Class B licenses were for consumption on the
premises, while other Class B licenses had an off-sale privilege.

19. House Bill 347, titled “Baltimore City — Alcoholic Beverages — Class B-D-7
Licenses,” established an additional class B license within District 45, which was GLENN’s
District. GLENN requested that the Maryland Department of Legislative Services draft House
Bill 347 on or about December 10, 2018, and it was co-sponsored by GLENN and introduced
and on January 28, 2019. |

The Scheme

20. Beginning on or about March 4, 2018, and continuing through on or about

February 11, 2019, in the District of Maryland and elsewhere, the defendant,
CHERYL DIANE GLENN,
and others known and unknown to the grand jury, devised and intended to devise a scheme and

artifice to defraud and deprive the citizens of Maryland and the State of Maryland of the right to
the honest services of GLENN through bribery and the concealment of material information
(hereinafter “the scheme to defraud”).
Purpose of the Scheme
21. The purpose of the scheme to defraud was for GLENN to secretly use her official
position as a Delegate to enrich herself by soliciting and accepting payments in exchange for
taking, or agreeing to take, official actions.
Manner and Means of the Scheme
22, It was part of the scheme to defraud that:
23. The defendant solicited and accepted cash payments totaling $33,750 from
Associate 1 who served as a conduit for Company 1 and Businessperson 3.
24. —_ The defendant provided favorable official action for and on behalf of Associate 1,
including, but not limited to:
. Voting in favor of House Bill 2, which increased the number of medical
marijuana grower and processing licenses that were available to an out-of-state company;
b. Promising to lead the effort to change the law in order to provide a
preference for Maryland residency to in-state medical marijuana license applicants;
c. Introducing legislation that decreased the number of years of experience
required to be a medical director of an opioid maintenance therapy clinic; and
d. Introducing legislation that created a class B alcohol and liquor license in
District 45.
25, The defendant took steps to hide, conceal, and cover up her activity and the nature
and scope of her dealings with Associate ] and others, including, but not limited to:

a. Agreeing not to deposit bribe payments in her bank account;
b. Agreeing to meet in person to discuss the details of bribes rather than ~
discussing them over the phone; and
C. Creating a false and fictitious loan note for a $15,000 bribe payment.
Acts in Furtherance of the Scheme

The First Payment

26. Onor about March 4, 2018, during a phone call between GLENN and Associate
1, Associate 1 discussed Company 1’s interest in obtaining a medical marijuana grow,
processing and dispensary license in Maryland. During this phone call, GLENN told Associate
1 that she had an outstanding tax debt and GLENN and Associate 1 agreed that GLENN and
Associate 1 would solicit money from Company | to pay the tax debt in exchange for agreeing to
perform an official act. GLENN agreed to meet with representatives of Company 1, including
Businessperson 1 and Businessperson 2, and said she would bring her tax bill of almost $3,000 to
the meeting.

27. On or about March 5, 2018, GLENN met with Associate 1, Businessperson 1,
and Businessperson 2 at a restaurant in Annapolis, Maryland. During the meeting,
Businessperson 1 expressed to GLENN that it was Company 1’s desire to obtain a new license
pursuant to House Bill 2 that had been recently introduced, but not yet enacted. GLENN took a
white, letter-sized envelope out of her purse and passed it to Associate 1. The envelope
contained an outstanding property tax bill for GLENN’s residence in the amount of $2,716.
GLENN and Associate 1 agreed that GLENN would use her position as a state legislator to vote
for HB-2, which could favor Company | in its pursuit of a medical marijuana license. GLENN
agreed to do so in exchange for a $3,000 cash payment from Associate 1 to GLENN, which

Associate 1 would attempt to obtain from Company 1.
28. On or about March 6, 2018, Associate | and GLENN exchanged a series of text
messages. Associate 1 asked GLENN, “How did your bill go today?” and GLENN responded,
“Better than expected, passed 2"! reader with NO amendments offered and no debate. WOW!!
3" reader tomorrow, then to the Senate.” GLENN later said, “I really hope you can get this
done for me.” Associate 1 said, “I need your deposit slip and a check so there is no question who
paid it. That way everything is kosher.” GLENN asked Associate ] to “pay it with cash”.
Associate 1 responded, “I can do it with [Associate 2] or by myself but best with [Associate 2] so
there isn’t a connection. [Businessperson 1] flies to r.i. tomorrow back to [name of city] sat.
Wires me $ Sunday then Ill contact [Associate 2]... do not fret, invoice is in my safe at
home...only u me and [Associate 2] will know so stop worrying.”

29, On March 7, 2018, in response to a message GLENN had received from
Associate 1 asking about the status of the bill, GLENN sent a text stating, “3 reader»
tomorrow.”

30. On March 8, 2018, GLENN voted in favor of House Bill 2 on its Third Reading.

31. On April 7, 2018, GLENN voted in favor of House Bill 2 after amendments from
the Senate.

32. On April 19, 2018, GLENN and Associate 1 spoke over the phone. During the
call, Associate 1 explained to GLENN that Company 1 was ready to make the $3,000 payment
to GLENN because “[t]hey wanted to wait until everything went through the General
Assembly.” GLENN arranged to receive the $3,000 the following day.

33, On April 20, 2018, GLENN and Associate 1 met at a restaurant in Baltimore
County. During the meeting, Associate 1 handed GLENN $3,000 in United States currency.

GLENN said, “[w]e passed the bill” and “T had to fight like hell. You have no idea how I had to
fight.” Associate | said, “[Businessperson 1 and Businessperson 2] appreciate you. What you
did to get the pot. I mean, and they hope to get a license in Maryland.” GLENN responded:
Well let me tell you something - You let them know, and I’m serious . . . let them

know there was a meeting with [Senator 1] right before sine die, on the medical

marijuana bill ... and I wasn’t invited to it and when I called [Senator 1’s] office

they said well Delegate GLENN, it’s only for [Senator 1] and a few other Senators.

So what I did, I went over to [Senator 2’s} office and hung around ‘cause I knew

she was gonna be goin’. She took me into that meeting with her and when I went

in there, 1 sat right at the head of the table. J said how ya'll doin’? If] had not gone

into that meeting, they would not... they... they would have... we would have got

the new licenses, but those new licenses would have been given to people already —

on the list...

34. GLENN further stated, “So I had to defend [House Bill 2], and I mean if I had not
been in that meeting, you tell [Businessperson 1 and Businessperson 2], they wouldn’t even have
a shot. You know.”

The Second Payment

35. On May 18, 2018, Associate 1 told GLENN that Businessperson 3 was “looking
for a license”.

36. On June 7, 2018, Associate 1 stated to GLENN that “we might be able to make
some money with [Businessperson 3] like we did with [Businessperson 1 and Businessperson
2.”

37. On June 12, 2018, Associate 1, GLENN and Businessperson 3 met at a restaurant
in Baltimore, Maryland and discussed medical marijuana licenses. Prior to Businessperson 3’s
arrival, GLENN and Associate | discussed that Associate 1 would act as the “go-between” for
payments from Businessperson 3 to GLENN. Once Businessperson 3 arrived, GLENN told

Businessperson 3 that she previously created a bill that awarded a company a medical marijuana

growing license and that other applicants were “pissed off” and asked “who the hell do they
know? ‘Cause they didn’t have any high-priced lobbyists or anything.” GLENN stated, “I said
they know God and Cheryl GLENN.”

38. On June 18, 2018, GLENN called Associate 1 and GLENN asked if
Businessperson 3 was “lookin’ for [GLENN] to help him or something?” Associate 1
responded, “yes,” and GLENN stated, “I’m not askin’ people to give me money and I’m
promising something I can’t promise, but I mean is he going to be makin’ a donation or
something?” GLENN said, “I’ve stopped spending time with people if they’re not um, donating
to ... you know what I mean.” GLENN said, “I wanna tell you what other people have done um,
and then nothin’ is a guarantee, but ve had... I’ve had a lot of donations from other people
who wanna get in the business, and they’re kind of donating to me, you know um, I guess
because they want me to be to the degree that I can an advocate for them.” GLENN said, “you
know I gotta deal with folk I don’t know a certain way. You know.” Associate 1 asked if
GLENN and Associate 1 should “do what we did with those guys in [city where Company 1 is
located] and just chop the money.” GLENN responded “Yeah.”

39, On July 31, 2018, Associate | left a voicemail on GLENN’s phone and stated, “T
can’t talk about it over the phone. There’s been a significant ah, thing with [Businessperson 3],
um, something I’d rather talk to you about in person.” Within approximately 15 minutes,
GLENN called Associate | and Associate 1 told GLENN, “I can’t talk to you about it over the
phone... ah, things have really financially gotten better with [Businessperson 3], and ah,
whenever you can meet me... sooner the better.” GLENN agreed to meet with Associate 1 at a
later date.

40. On August 10, 2018, GLENN and Associate 1 met at a restaurant in Baltimore,

Maryland. During the meeting, Associate 1 told GLENN that Businessperson 3 had offered to
give him $10,000 cash if he could get the law changed in Maryland so that local businesses
would be given priority for medical marijuana licenses. Associate 1 said he could split the
$10,000 with GLENN. GLENN agreed to introduce legislation to get the law changed in
exchange for a payment of $5,000.

41. On August 15, 2018, GLENN called Associate 1 and Associate | stated that
Businessperson 3 wanted some type of proof that the law would be changed to give Maryland
businesses a priority when competing for medical marijuana licenses. GLENN and Associate 1
had the following exchange:

Associate 1: If you can just shoot me an email or somethin’ sayin’
we're gonna... not we... but you’re gonna introduce
legislation where Maryland businesses get a priority
in... in these licenses. 171] just show it to him then
erase it. I mean there’s no guarantee you know on
anything. Ah, he’s got this...

GLENN: Uh-huh.

Associate 1: ...and then I’ll just show him the email and erase it.
I’m actually gonna see him later today. Um...

GLENN: Um, so you’re saying... You’re saying that if... if I
put this in an email, he’ll cough up this money?

Associate 1: Yep.
GLENN: Well... what... what... Um, text me your email
address. ‘Cause I don’t think I have your email
address.
Associate 1: Allright. Tl do that. All right.
42. On August 15, 2018, GLENN sent an email to Associate |, with the subject line
“MEDICAL MARIJUANA LICENSES”, which stated:
As it relates to the new licenses that will be available for minorities

for medical marijuana in the State of Maryland, the issue of
preferences for applicants who are residents of the State of Maryland

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has been a controversial conversation. Many of the legislators
believe that there should be a preference given to those applicants
who are residents of the State of Maryland. In the upcoming 2019
Legislative Session, there will be'a strong effort to amend the law,
as well as the regulations, so that preferences will be given to
applicants for medical marijuana licenses who reside in the State of
Maryland. I will take the lead on the effort to get the law changed
to provide the residency preference for the medical marijuana
licenses.

43. On August 16, 2018, GLENN called Associate 1 and Associate 1 told GLENN,
“That email was perfect. I showed it to [Businessperson 3] and he’s happy with that, and ah,
he’s gonna get me the cash.” Later in the conversation, Associate 1 told GLENN, “Maybe I can
give you the cash Wednesday” and GLENN responded, “That would be awesome. That would
be awesome.”

44, On August 23, 2018, GLENN and Associate 1 met at a restaurant in Baltimore,
Maryland. During the meeting, Associate 1 handed GLENN $5,000 in United States currency.
After handing GLENN the money, Associate 1 stated, “That’s what that email did for us.”
Associate 1 cautioned GLENN about putting all of the money into the bank at one time to which
GLENN responded, “No. No. I won’t.” .

The Third Payment

45. On October 9, 2018, Associate 1 called GLENN and GLENN stated “Tell
[Businessperson 3] I need s... I, I need some help.”

46. On October 12, 2018, GLENN and Associate 1 met at a restaurant in Baltimore,
Maryland. During the meeting, GLENN gave Associate | documents which reflected changes
proposed by the Commission to Maryland’s medical marijuana regulations as a result of House
Bill 2. GLENN told Associate 1, “I got this shit done” and “it took a lot of work.” GLENN
stated, “I fought my ass off for this.’ GLENN stated that a $20,000 “personal loan” from

someone would “clear up everything” for her and later asked, “Do you know how much

1]
somebody would charge [Businessperson 3] to give him all this shit?’ Associate 1 responded,
“Well you said twenty grand.” GLENN stated, “I’m telling you, that would get me out of the
hole.” Associate 1 told GLENN that he would meet with Businessperson 3 and attempt to
obtain the $20,000 that she solicited. GLENN responded, “Okay. Well... Well... Ifnot, as
much of it as you can.”

47. On October 16, 2018, Associate 1 called GLENN and said they could “get some
cashola out of [Businessperson 3]}” because Businessperson 3 operated a methadone clinic and
wanted to turn the operation of the clinic over to Businessperson 3’s daughter so he could focus
full time on his prospective medical marijuana business. Associate 1 told GLENN that under
current Maryland law, Businessperson 3’s daughter needed three years of experience to be the
director of a methadone clinic, and that Businessperson 3 wanted the law changed so that only
two years of experience was required. GLENN asked Associate | to send her a copy of the law
and GLENN said she would “work on it.” The following exchange occurred:

GLENN: So is he able to help me?

Associate 1: Ah... Ju... For a quick five [$5,000].
GLENN: That... That’s fine.

Associate 1: Yeah.

GLENN: That’s fine. Um... Um... So ah, when do you
think... When do you think that would happen?

Associate 1: We can make this happen in the next couple days.

GLENN: Okay. All mght. Dm going to Annapolis
(unintelligible)...

Associate 1: And he... But Cheryl, I gotta... I gotta let him

know... I gotta prove to this guy that we’re pre-filing
this. I mean he ain’t...

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GLENN: Okay. You...

Associate 1: Just ain’t gonna throw money at me.
GLENN: | You can tell... No. No.

Associate 1: Okay.

GLENN: But you can tell him... -

Associate 1: Okay.

GLENN: ... ah, if he gets me the copy of whatever it is then I
can... I can get it pre-filed. That... That’s... That’s
a easy thing.

48. On October 18, 2018, GLENN pre-filed House Bill 35, titled “Public Health —
Opioid Maintenance Therapy Programs — Medical Director Requirement and Qualifications.”
GLENN sent a text message to Associate 1, which stated “The bill has been pre-filed.”

49, On October 19, 2018, Associate 1 called GLENN and GLENN explained how it
was easy to pre-file legislation, “[b]ecause all you do ts call the bill drafter, and you tell him
what part of the law, you know, and you had given me all of that, and, and they create, they
create the biils. I mean they used to doing that [for GLENN].” GLENN further explained,
“You can pre-file anything and then they schedule it for a bill hearing. That all is done during
the session.”” When Associate 1 said he was surprised that GLENN did not have a delay in
getting the bill pre-filed, GLENN responded, “Not when they know you. You know? So if!
wasn’t elected... I mean if they didn’t already know me, they, they wouldn’t have done it that
_ quick.” When Associate 1 asked GLENN if she had received confirmation of the pre-filing of
the legislation, GLENN stated, “They send um, a reference number” which GLENN said would
come to her legislative email account. GLENN said she would follow up on the confirmation

email from her legislative assistant. GLENN and Associate 1 agreed to meet on Monday

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[October 22, 2018] so Associate 1 could give GLENN the money in exchange for pre-filing the
legislation.

50. On October 20, 201 8. Associate 1 received an email from GLENN. The email
stated “LR0623 — OPIOID MAINTENANCE THERAPY — MEDICAL DIRECTOR —
REQUIRED EXPERIENCE,” which referred to the Legislative Reference number that was
assigned to GLENN’s request for the bill.

51. On October 22, 2018, GLENN met Associate 1 at a restaurant in Baltimore,
Maryland. During the meeting, Associate | handed GLENN $5,000 in United States currency.
As he was giving the money to GLENN, Associate 1 stated, “That’s five grand cash.” Associate
1 stated, “So when you get that bill, if you can just flip it over. That’ll make [Businessperson 3]
get more excited about the next (unintelligible).” Associate 1 cautioned GLENN about
depositing the cash at her bank, and told GLENN to only deposit “a little bit at a time.”

GLENN responded, “No. No no. I won’t. No. No, I won’t. No, I won’t. No, I got stuff I need
to take care of. ”

52. On January 9, 2019, GLENN introduced, as its sponsor, House Bill 35 titled
“Public Health - Opioid Maintenance Therapy Programs — Medical Director Requirement and
Qualifications.”

The Fourth and Fifth Payments

53. On December 3, 2018, Associate 1 called GLENN and GLENN said that she had
financial problems. Associate 1 responded, “Well that’s all right. Listen, ‘cause I got... I got a
couple... You know, I’ve been out hustling too. I... I’m tryin’ to get some Christmas cash. I got
somethin’ good...” GLENN interrupted Associate 1 and asked, “Well what do you... What do

you need... What do you need me to do?” Associate 1 told GLENN that Businessperson 3

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needed help obtaining a liquor license for a restaurant that he wanted to open in Baltimore City.

Associate | stated that Delegate 1 introduced a bill during the previous legislative session which

created a Jiquor license at a specific location. Associate | stated, “[Businessperson 3’s] got five

grand like ready now. He knows that a license would cost him at least on average of no less than

sixty, seventy thousand dollars. So ah, it’d be five grand up front and another fifteen when the

license is granted. This is a no-brainer and J can send you what it looks like.” GLENN said,

“So all he needs me to do is a bill to, to replicate what [Delegate 1] did for [a location in a

specific district]” and GLENN further said, “It would have to be for the 45" District because I

couldn’t do it if it’s not my District.” GLENN stated, “I’d be happy to do it” and “Doing a bill

like that is not a problem.” The following exchange occurred:

GLENN:

Associate 1:

GLENN:

Associate 1:

GLENN:

Associate 1:

GLENN:

Associate I:

GLENN:

Associate 1:

It wouldn’t be a pre-filed bill ‘cause it’s past the
deadline.

It doesn’t matter. I can have...

I can do it. I can...

.. .the five grand by Monday.
Okay. Allright. (Unintelligible).

And then another fifteen... Then another fifteen once
it’s all introduced because he’ll have twenty...

Okay.

He’|] have twenty grand tied up into a license which
if he had to go buy one from you know, John Doe,
he’d pay fifty to seventy-five grand so this is a cheap
deal.

Okay.

And then I’m gonna be the managing partner in the
vent... in the venture.

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GLENN: Okay.

Associate 1: All right.

GLENN: All right. So, so just send me what [Delegate 1] did
and then... and then just... you know, um, just um, I
just need... It’s... ‘Cause if she did it for a specific ©
area, then you have to tell me the exact area that you
need it in.

GLENN told Associate 1 that she would direct “Bill Drafting [to] draft the bill.”

54. On December 6, 2018, GLENN sent a text message to Associate | which stated
“T need the exact location. See how [Delegate 1] included it in the bill. No problem to get this
filed tomorrow as long as you get me the location. Thanks.” Associate 1 sent a text message to
GLENN with an exact location for the liquor license.

55, On December 10, 2018, GLENN and Associate 1 met at a restaurant in

Baltimore, Maryland. During the meeting, Associate 1 handed GLENN $5,000 in United States
currency and confirmed with GLENN that she would receive the other fifteen grand once she

_“introduce[d] the bill.” GLENN said, “I just had my staff person do it this morning.” GLENN
asked, “This 1s a complete five? ‘Cause last time it was two-fifty short.” Associate 1 asked,
“You wanna go to the car and count it?” GLENN responded, “No.”

56. Later that day, GLENN and Associate 1 exchanged a series of text messages.
GLENN stated, “It’s short again... much more this time (sad face emoji). Help please.” When
Associate 1 asked how much the payment was short and if Glenn had checked the count, Glenn
stated “4 times, 500. Before it was 250.” When Associate 1 told Glenn he/she would have

Businessperson 3 add the $750 to the $15,000 payment in January, Glenn responded “Not your

fault. I could really use it now.”

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57. On December 11, 2018, GLENN sent an email to Associate 1, which forwarded
an emai! that had been sent to GLENN on December 11, 2018 from the bill drafting office and
was titled “Acknowledgement Letter LR0995 — Glenn, Cheryl D., Delegate.” The forwarded
email stated, in part, “Dear Delegate Glenn: This is to acknowledge receipt of your request that
we prepare legislation for you in anticipation of the 2019 Session of the General Assembly.”
Referenced in the forwarded email was “Subject: BALTIMORE CITY — ALCOHOLIC
BEVERAGES — CLASS B-D-7 LICENSES.”

58. On December 20, 2018, GLENN arranged to meet with Associate 1 in the
parking lot of a shopping center in Baltimore, Maryland. During the meeting in GLENN’s
vehicle, the Associate 1 provided GLENN with an additional $750 as payment for the amount
that GLENN falsely claimed she had been shorted in the prior payments.

59. On January 10, 2019, GLENN sent Associate | a text message in which GLENN
stated, “I have the Blue Back for the alcoho! bill you requested in my district. Please give me the
details on why this is needed ASAP.” A “Blue Back” is a term used in the Maryland General
Assembly to refer to the original copy of a bill.

60. On January 14, 2019, Associate 1 called GLENN and GLENN asked Associate 1
to provide her with a description of Businessperson 3’s restaurant so she would be able to
explain the business to potential co-sponsors of the bill. Associate ] agreed to provide the
information to GLENN. GLENN told Associate 1, “Pm not gonna give this to anybody” and
“I’m not sharing this with anybody.” Associate 1 thereafter provided GLENN with the
information she requested.

él. On January 28, 2019, Associate 1 called GLENN and GLENN told Associate |

that she had “dropped” the Blue Back on Friday, January 25, 2019, and that the bill would

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probably become available later in the week. GLENN stated that she had signed off on the bill
as did another delegate, and she intended to get a senator to cross-file the bill. GLENN stated
that she had “two bills ah, for [Associate 1].” GLENN stated, “The opioid bill is out” and “It’s
got a number and everything.” Toward the latter part of the conversation, Associate 1 told
GLENN “Well then when that liquor thing goes in, if you can give me at least a week for me to
tell him [Businessperson 3] to get his money [the $15,000 cash] ready. GLENN responded
“Okay. Okay.” |

62. On January 28, 2019, GLENN, introduced, as its sponsor, House Bill 347, titled,
“Baltimore City — Alcoholic Beverages — Class B-D-7 Licenses.”

63. On January 31, 2019, GLENN called Associate 1 and told Associate 1 that the
liquor bill was House Bill 347. GLENN explained that the Economic Matters Committee would
schedule a hearing for the bill and that GLENN would present the bill to the delegation, but she
would need someone to represent Businessperson 3. In a subsequent call, Associate 1 told
GLENN that Associate 1 would provide her with $15,000 on February 11, 2019, for introducing
House Bill 347.

64. On February 11, 2019, GLENN arranged to meet with Associate | at a hotel in
Annapolis, Maryland so that Associate 1 could pay GLENN $15,000 in cash for introducing
House Bill 347. When she arrived at the hotel, GLENN called Associate 1 and asked Associate
1 to come to her car. Associate 1 entered GLENN’s car and GLENN proceeded to drive from
the hotel at a high rate of speed to another nearby parking lot. When GLENN parked the
vehicle, GLENN said she needed Associate 1 to sign a document as “‘an insurance thing.” The
document, drafted by GLENN, falsely stated, “To whom it may concern: The money,

$15,000.00, received from my friend, [Associate 1], this morning, is in NO way connected to my

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position as a State Delegate... ] have not made any promises to use my position as a State
Delegate for any purposes. The money is a gift and is not being given to me in exchange for any
political favors.” GLENN told Associate 1 that “this protects you and J.” GLENN proceeded to
count stacks of cash and confirmed she received the full $15,000.00.
. The Charge
65. On or about December 11, 2018, in the District of Maryland and elsewhere, the
defendant,
CHERYL DIANE GLENN,

for the purpose of executing and attempting to execute the scheme to defraud, transmitted and
caused to be transmitted by means of wire communication in interstate commerce writings,
signs, signals, pictures, and sounds, that is, an email forwarded from GLENN to Associate 1

. With no subject line, which stated, “Dear Delegate Glenn: This is to acknowledge receipt of your
request that we prepare legislation for you in anticipation of the 2019 Session of the General
Assembly . . . LR Number: 9LR0995 Staff Member: [Staff Member 1] Subject: BALTIMORE
CITY — ALCOHOLIC BEVERAGES — CLASS B-D-7 LICENSES.”

18 U.S.C. §§ 1343 and 1346

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COUNT TWO
(Travel Act) -

The United States Attorney for the District of Maryland further charges that at all times
relevant to this Information:

1. Paragraphs | through 64 of Count One of this Information are re-alleged and
incorporated herein by reference. | |

2. On or about October 18, 2018, in the District of Maryland and elsewhere, the
defendant, |

CHERYL DIANE -GLENN,

did use and cause to be used a facility in interstate commerce, that is, GLENN used a cellular
telephone to send a text message to Associate 1 in which GLENN stated, “The bill has been pre-
filed,” with the intent to promote, manage, establish, carry on, and facilitate the promotion,
management, establishment and carrying on of an unlawful activity, to wit: bribery in violation
of Maryland Criminal Law § 9-201 (c) (“Public employee demanding or receiving bribe”); and
thereafter did perform and attempt to perform acts to promote, manage, establish and carry on,
and to facilitate the promotion, management, establishment and carrying on of said unlawful
activity. |

18 U.S.C. § 1952(a)(3) and (b)(2)

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FORFEITURE ALLEGATION

The United States Attorney for the District of Maryland further finds that:

1. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), in the event of the defendant’s convictions
under Counts One and Two of this Information.

2. As a result of the offenses alleged in Counts One and Two of this Information, the
defendant,

CHERYL DIANE GLENN,
shall forfeit to the United States any property, real and personal, which constitutes and is derived
from proceeds traceable to the violations. The property to be forfeited includes, but is not
limited to, the following: $33,750 in U.S. Currency.

Substitute Assets

3. If, as a result of any act or omission of the defendant, any proceeds subject to
forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be subdivided without
difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) to seek forfeiture of any other

property of said defendant.

18 U.S.C. § 981(a)(1(C)

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21 U.S.C § 853
28 U.S.C. § 2461(c)

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Robert K. Hur
United States Attorney

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Date

 

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